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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

___________________________________
HON. BENNIE G. THOMPSON,             )
 in his personal capacity,           )
HON. KAREN R. BASS,                  )
 in her personal capacity,           )
HON. STEPHEN I. COHEN,               )
 in his personal capacity,           )   Civil Case No. 1:21-CV-400-APM
HON. VERONICA ESCOBAR,               )   Honorable Amit P. Mehta
 in her personal capacity,           )
HON. PRAMILA JAYAPAL,                )
 in her personal capacity,           )
HON. HENRY C. JOHNSON, JR.,          )   MOTION TO WITHDRAW
 in his personal capacity,           )   AS COUNSEL FOR
HON. MARCIA C. KAPTUR,               )   DEFENDANT OATH KEEPERS, ONLY
 in her personal capacity,           )
HON. BARBARA J. LEE,                 )
 in her personal capacity,           )
HON. JERROLD NADLER,                 )
 in his personal capacity,           )
HON. MAXINE WATERS,                  )
 in her personal capacity, and       )
HON. BONNIE M. WATSON COLEMAN,)
 in her personal capacity            )
                                     )
        Plaintiffs,                  )
v.                                   )
                                     )
DONALD J. TRUMP,                     )
 solely in his personal, capacity,   )
RUDOLPH W. GIULIANI,                 )
OATH KEEPERS,                        )
PROUD BOYS INTERNATIONAL, .LLC )
WARBOYS LLC, and                     )
ENRIQUE TARRIO                       )
                                     )
        Defendants.                  )
___________________________________)
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Janette Louard (pro hac vice                     Kerry Lee Morgan, 424566
  motion to befiled)                             Pentiuk, Couvreur & Kobiljak, P.C.
Anthony P. Ashton, Bar No. MD0096                Attorneys for Defendant
Anna Kathryn Barnes, Bar No. 1719493             Oath Keepers, Only
  (motion for admission pending)                 2915 Biddle Street
Attorneys for Plaintiffs                         Suite 200
NAACP Office of General Counsel                  Wyandotte, MI 48192
4805 Mount Hope Drive                            (734) 281-7100
Baltimore, MD 21215                              Kmorgan@pck-law.com
(410) 580-5777
jlouard@naacpnet.org
aashton@naacpnet.org
abarnes@naacpnet.org

Joseph M. Sellers, Bar No. 318410
Brian Corman, Bar No. 1008635
Alison S. Deich, Bar No. 1572878
  (motion foradmission pending)
Attorneys for Plaintiffs
COHEN MILSTEIN SELLERS & TOLL PLLC
1100 New York Avenue, N.W.
Suite 500, EastTower
Washington, DC 20005
(202) 408-4600
FAX: (202) 408-4699
jsellers@cohenmilstein.com
bcorman@cohenmilstein.com
adeich@cohenmilstein.com

_________________________________________/

                  MOTION TO WITHDRAW AS COUNSEL
                 FOR DEFENDANT OATH KEEPERS, ONLY

      NOW COMES PENTIUK, COUVREUR & KOBILJAK, P.C., and Kerry L.

Morgan Counsel for Defendant, OATH KEEPERS, Only, and pursuant to LCR 83.6,

and for its Motion to Withdraw as Counsel for Defendant Oath Keepers Only, states

as follows:




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      1.     Pentiuk, Couvreur & Kobiljak, P.C. and Kerry L. Morgan are counsel

for Defendant, OATH KEEPERS, Only, in this matter.

      2.     That Defendant, Oath Keepers, has not communicated or responded to

counsel after counsel reached out several times and there has been a breakdown of

communication.

      3.     That Defendant, Oath Keepers, has not paid it’s legal fees and costs due

and owing to Pentiuk, Couvreur & Kobiljak, P.C. and have not provided information

to the undersigned, if and when, the legal fees and costs will be paid.

      4.     Counsel also requested Oath Keepers obtain substitute counsel in

avoidance of this Motion, but have received no such substitution.

      5.     On November 1, 2021 Defendant, Oath Keepers, was advised that the

motion herein would be filed with this Court on November 10, 2021 and

withdrawing from this matter if no substitution of counsel was received.

      6.     On November 10, 2021, Pentiuk, Couvreur & Kobiljak, P.C. did not

hear from Defendant, Oath Keepers, nor receive a substitution of counsel,

necessitating the filing of this motion.

      WHEREFORE, Pentiuk, Couvreur & Kobiljak, P.C. and Kerry L. Morgan

respectfully request this Honorable Court grant the following relief:

      1.     Grant the motion to withdraw as counsel for Defendant, Oath Keepers,

Only; and


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      2.     Order Defendant Oath Keepers to retain new counsel and an

Appearance of new counsel be filed within thirty (30) days of the filing of an Order.

                                Respectfully submitted,

                                PENTIUK, COUVREUR & KOBILJAK, P.C.

                       BY: /s/Kerry L. Morgan
                           KERRY L. MORGAN (424566)
                           2915 Biddle Avenue, Ste. 200
                           Wyandotte, MI 48192
                           (734) 281-7100
                           kmorgan@pck-law.com
Dated: November 11, 2021



    BRIEF IN SUPPORT OF MOTION TO WITHDRAW AS COUNSEL

      The undersigned, PENTIUK, COUVREUR & KOBILJAK, P.C. states the

following in support of its Motion to Withdraw as Counsel for Defendant, Oath

Keepers, Only:

      The undersigned relies on the facts and law in the attached Motion.

                                Respectfully submitted,

                                PENTIUK, COUVREUR & KOBILJAK, P.C.

                       BY: /s/Kerry L. Morgan
                           KERRY L. MORGAN (424566)
                           2915 Biddle Avenue, Ste. 200
                           Wyandotte, MI 48192
                           (734) 281-7100
                           kmorgan@pck-law.com
Dated: November 11, 2021

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                                CERTIFICATE OF SERVICE

On November 11, 2021, I certify that I electronically filed this document with the Clerk of the
Court through the ECF System, which will send notification of such electronic filing to all counsel
of record registered electronically and on this date also served Defendant, Oath Keepers, via first
class mail, U.S. Postal Service at their last known address of: Mr. Stewart Rhodes, Founder and
President of Oath Keepers, 1030 E. Hwy. 377, Suite 110-285, Granbury, TX 76048 and Kellye
SoRelle, Oath Keepers General Counsel located at 922 W. Pearl Street, Granbury, TX 76048.
.
                                                              Kerry L. Morgan
                                                              Kerry L. Morgan, Esq.




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